                                          17-11567-tmd Doc#39-1 Filed 03/31/22FORM
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                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Page No:    1
                                                                                        ASSET CASES

Case No.:                     17-11567-TMD                                                                                                      Trustee Name:                               Ron Satija
Case Name:                    QUARRI TECHNOLOGIES, INC.                                                                                         Date Filed (f) or Converted (c):            12/21/2017 (f)
For the Period Ending:        3/31/2022                                                                                                         §341(a) Meeting Date:                       01/18/2018
                                                                                                                                                Claims Bar Date:                            10/26/2018

                                 1                                           2                        3                                 4                        5                                           6

                         Asset Description                                Petition/            Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                Unscheduled           (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                             Value                     Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                             Less Liens, Exemptions,
                                                                                                and Other Costs)

 Ref. #
1       Comerica Bank 5679                                                          $0.00                              $0.00                                          $0.00                                             FA
2       Lease DFP Rialto LP                                                  $15,676.76                                $0.00                                          $0.00                                             FA
Asset Notes:       UCCs
3       Office furniture                                                         $7,432.00                             $0.00                                          $0.00                                             FA
Asset Notes:       UCCs
4       Office Fixtures                                                             $0.00                              $0.00                                          $0.00                                             FA
5       Office equipment                                                         $6,000.00                             $0.00                                          $0.00                                             FA
Asset Notes:       UCCs
6       7500 Rialto Blvd Ste 210 Austin TX 78735                                 Unknown                               $0.00                                          $0.00                                             FA
        Leasehold
7       US Patent 8,528,061                                               $1,000,000.00                                $0.00                                          $0.00                                             FA
Asset Notes:    UCCs
                IPX has been retained to sell; TTE reviewed sale agreement 6/20/19
                Doc 33 08/12/20 Mot to Sell to TensorX
                Doc 36 09/08/20 Ord to Sell (This sale fell through.)
8       www.quarri.com                                                          Unknown                           $100.00                                             $0.00                                             FA
9       License agreement with Blue Coat Systems Inc                             Unknown                               $0.00                                          $0.00                                             FA
10      2016 Federal tax refund - NOL                                    $11,362,652.00                     $9,173,705.87                                             $0.00                                             FA
Asset Notes:       UCCs
11      refund of retainer of VCFO                             (u)                  $0.00                       $1,500.00                                        $1,500.00                                              FA
12      Remnant Assets                                         (u)           $10,000.00                        $10,000.00                                             $0.00                                      $10,000.00


TOTALS (Excluding unknown value)                                                                                                                                                          Gross Value of Remaining Assets
                                                                          $12,401,760.76                   $9,185,305.87                                          $1,500.00                                  $10,000.00




     Major Activities affecting case closing:
      03/31/2022     Motion to Sell remaining assets filed
      03/08/2022     IRS 505 correspondence rec'd 2018-2020 accepted except 2017
      01/12/2022     Tax returns submitted
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                       Asset Description                                  Petition/                Estimated Net Value               Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                  Unscheduled               (Value Determined by               Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                               Value                         Trustee,              OA =§ 554(a) abandon.         the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

     06/24/2021     Received and reviewing offer on remaining assets
     01/07/2021     TTE communication with estate's broker regarding substitute sale of patent.
     09/08/2020     Doc 36 Ord on Mot to Sell [Doc 33]
     08/26/2020     Doc 34 Ord Aprvg App to Employ CPA Mosley
     08/12/2020     TTE MTS patent
     08/12/2020     Doc 33 Mot to Sell Patent
     07/30/2020     Application to employ accountant filed
     06/14/2020     TTE prepared bid procedures motion and communicated with IPX regarding same.
     06/14/2020     TTE investigated tax consequences of sale.
     05/01/2020     Doc 30 Agr Ord on Claim 6
     03/23/2020     Hearing on Doc 17 - Obj to Claim 6 NOT held. Agreed Order to Come
     02/19/2020     Odrs obj 3 clms
     02/13/2020     resp to obj clm 6
     01/14/2020     obj 4, 6, 8, 11 filed
     06/20/2019     Reviewed draft sale agreement and e-mail correspondence with TTE's counsel regarding same.
     05/16/2019     Telephone conference with broker and counsel regarding offer
     04/04/2019     status conference with TTE counsel; waiting on broker to secure offer
     01/15/2019     status conference with counsel and broker
     08/08/2018     Arrange for Brokers to inspect computers/IP
     06/14/2018     Odr hire IPX to sell IP
     03/27/2018     Odr hire Roberts
     03/27/2018     Order to hire Strasburger
     03/02/2018     MTH S Roberts
     03/01/2018     Shattuck picked up computers from office and storage
     01/29/2018     rec'd email to reject TÜV SÜD escrow agmt; fwd to RS & S Roberts
     01/05/2018     rec'd phone call from another potential asset buyer who wants the AR only.
     01/02/2018     rec'd offer for all assets from Alex Dove


Initial Projected Date Of Final Report (TFR):        12/31/2021                         Current Projected Date Of Final Report (TFR):       03/31/2022               /s/ RON SATIJA
                                                                                                                                                                     RON SATIJA
